RETURN OF SERVICE

UNITED STATES DISTRICT COURT
EASTERN District of North Carolina

Case Number: 4:19-CV-00153

 

 

 

Plaintiff:

JASON WILLIAMS | | |

VS. BBW2020007716
Defendant:

AT&T MOBILITY, LLC

Received by Steve Palmer on the 4th day of September, 2020 at 11:00 am to be served on PRIME
COMMUNICATIONS, L.PL, 12550 REED RD, STE. 100, SUGAR LAND, TX 77478.

|, Steve Palmer, do hereby affirm that on the 4th day of September, 2020 at 11:54 am, I:

Delivered to the within named corporation by hand delivering a true copy of the SUBPOENA TO
PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS OR TO PERMIT INSPECTION OF

PREMISES IN A CIVIL ACTION, SCHEDULE A, EXHIBIT 14, with the date of service endorsed thereon by
me to Lesley Wickham as Accounting Specialist of the within named corporation PRIME

COMMUNICATIONS, L.PL at 12550 REED RD, STE. 100, SUGAR LAND, TX 77478, in compliance with
State Statutes.

“My name 1 us Veni (First, Last), my date of birth is_| { l2 “| = and my address
is S/ES VATS Ro SUGae.A 39 TH 174-7 ®R(Street, City, State, Zip Code), and

(gE ~D (County). | declare under penalty of perjury that the foregoing is true and correct. ae
in eo (Gounty), State of “(> , on the an Day of S77S45420 ;
SJ far c__(First, Lastname) declarant.”

 

>

 

Steve Palmer
PSC-12407 Exp 12/31/2021

Our Job Serial Number: BBW-2020007716

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